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6
                                UNITED STATES DISTRICT COURT
7                              WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
8

9    YOUNG CHOI,                                            No. 3:21-cv-5119

10                                  Plaintiff,
     V.                                                     AMENDED COMPLAINT FOR
11                                                          DAMAGES
     CITY OF LAKEWOOD, DAVID BUTTS and
12   BRIAN LUTTRULL,
13                                                          JURY DEMAND
                                    Defendants.
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15
     I.     INTRODUCTION
16
            On February 21, 2018, Young Choi suffered from a manic bi-polar episode in which she
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     belligerently confronted grocery store employees about the quality of their produce at Paldo
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     World in Lakewood, Washington.
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            Seeing her shoeless and in distress, Officers Brian Luttrull and David Butts soon
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     slammed Ms. Choi to the ground and snapped her arm in two places while handcuffing her as
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     they sat on top of her. As a result of this negligent escalation of force and application of
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     excessive force in violation of her constitutional rights, Ms. Choi suffered physically and
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24   emotionally.




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     II.       PARTIES
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            1. Plaintiff Young Choi is a citizen of the United States and a resident of Pierce County,
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               Washington.
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4           2. Defendant City of Lakewood is a municipal corporation in Pierce County, Washington.

5           3. Defendant David Butts was an officer employed by the Lakewood Police Department

6              (LPD) at all relevant times. Defendant Butts is believed to reside in the State of

7              Washington. In committing the acts and omissions alleged, Defendant Butts was acting

8              under color of state law and within the course and scope of his employment by the LPD.

9              Defendant Butts is sued in his official and individual capacities.
10          4. Defendant Brian Luttrull was a detective employed by LPD at all relevant times.
11             Defendant Luttrull is believed to reside in the State of Washington. In committing the
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               acts and omissions alleged, Defendant Luttrull was acting under color of state law and
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               within the course and scope of his employment by the Lakewood Police Department.
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               Defendant Luttrull is sued in his official and individual capacities.
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     III.      JURISDICTION & VENUE
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            1. This action is brought pursuant to 42 U.S.C. § 1983 for violations of the Fourth and
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               Fourteenth Amendments to the United States Constitution and for a violation of
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               Washington common law.
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            2. On February 19, 2021, plaintiff presented defendant Lakewood claim for damages under
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21             RCW 4.96.020.

22          3. As of April 21, 2021, 60 days elapsed after that presentation.

23          4. The court has original jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343 and

24             supplemental jurisdiction under 28 U.S.C. § 1367.




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           5. The claims arose in Pierce County, Washington, rendering venue proper in the Western
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              District of Washington, Tacoma courthouse, under 28 U.S.C. §1391(b)(2).
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           6. Jurisdiction here also is proper because the defendants are believed to be residents of this
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4             district.

5    IV.      FACTS

6          1. Plaintiff Young Choi is a Korean-American woman.

7          2. Korean is her first language, and English is her second.

8          3. Plaintiff Choi suffers from bi-polar disorder.

9          4. On February 21, 2018, she was suffering a manic episode.
10         5. The manic episode had begun by the day before.
11         6. Plaintiff Choi was suffering this manic episode when she went to Paldo World, a Korean
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              food grocery store in Lakewood, WA, on February 21, 2018.
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           7. During this mental health crisis, Plaintiff Choi became upset over the condition of the
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              store’s produce.
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           8. She confronted store staff to express her displeasure.
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           9. Plaintiff Choi then became more upset when she saw someone recording video of her
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              outburst with a phone.
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           10. For several minutes, Plaintiff Choi confronted people who attempted to record her
19
              outburst.
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21         11. At about 9:30 a.m., Defendants Butts and Luttrull entered Paldo World.

22         12. Defendants Butts and Luttrull at the time were on-duty as police officers on patrol;

23         13. Defendants Butts and Luttrull arrived to find Plaintiff Choi shoving a woman who was

24            recording her.




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       14. Plaintiff Choi was barefoot by this time.
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       15. Defendants Butts and Luttrull ran from the entrance of the store to confront Plaintiff
2
          Choi.
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4      16. Defendant Luttrull grabbed Plaintiff Choi by the left wrist to lead her toward the exit.

5      17. With her right hand, Plaintiff Choi pointed past the registers.

6      18. As she pointed, Plaintiff Choi said “My purse. I need my purse. I need my purse.”

7      19. Defendant Luttrull then yanked Plaintiff Choi down to the ground.

8      20. Defendant Luttrull immediately climbed on top of Plaintiff Choi.

9      21. Plaintiff Choi was face down under Defendant Luttrull.
10     22. By this point of her arrest, Plaintiff Choi suffered an abrasion or cut to her forehead from
11        hitting the floor.
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       23. Defendant Luttrull pulled Plaintiff Choi’s left arm behind her back.
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       24. Plaintiff Choi’s right arm was underneath her.
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       25. Defendant Butts joined Defendant Luttrull on top of Plaintiff Choi to handcuff her.
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       26. Defendant Butts immobilized Plaintiff Choi’s right arm at the shoulder.
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       27. Defendant Butts then pulled on Plaintiff Choi’s right arm by the wrist to put it behind her
17
          back.
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       28. At that point, Plaintiff Choi’s upper arm audibly snapped, and her right arm went limp.
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       29. Plaintiff Choi screamed in pain.
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21     30. The defendants then completed the handcuffing process.

22     31. The defendants then sat up Plaintiff Choi on the floor with her hands cuffed behind her

23        back.

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          32. The defendants then summoned emergency medical assistance to treat Plaintiff Choi’s
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             injury.
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          33. Plaintiff Choi sat on the floor, her arm broken, with her hands cuffed behind her back for
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4            more than 10 minutes.

5         34. Plaintiff Choi was treated at the scene by West Pierce Fire and Rescue.

6         35. Plaintiff Choi was taken by ambulance to Madigan Army Medical Center.

7         36. Plaintiff Choi suffered a broken humerus in two places during this arrest.

8         37. The injury required surgical repair.

9         38. The injury led to many months of physical therapy for Plaintiff Choi.
10        39. Plaintiff Choi’s arm remains less functional than it was before the injury.
11        40. Plaintiff suffered pain and psychological trauma as the result of the defendants’ actions.
12
     V.      CLAIMS
13
            A. EXCESSIVE FORCE VIOLATION OF THE FOURTH AMENDMENT
14             PURSUANT TO 42 U.S.C. § 1983

15         1. Defendants Butts and Luttrull acted under color of state law with deliberate

16             indifference to deprive Plaintiff Choi of her constitutionally protected right under the

17             Fourth Amendment to be free from the excessive use of force;

18         2. The actions of Defendant Butts and Luttrull were the direct and proximate cause of
19             damages to Ms. Young as alleged in this Complaint.
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            B. NEGLIGENCE
21
            1. Under Washington Common law and within the course of police duties, the City of
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                Lakewood owes a duty of reasonable care to persons with whom it foreseeably
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                interacts. Including in the likely use of force, the city and its officers have a duty to
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                 take reasonable care not to cause foreseeable harm in the course of such law
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                 enforcement interactions.
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             2. The City of Lakewood owed such a duty to Ms. Choi, and the actions of its agents
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4                breached that duty.

5            3. This breach proximately caused Ms. Choi severe injury, as described and alleged

6                above.

7            4. The City of Lakewood is liable to Plaintiff for the negligent actions of its officers that

8                proximately cause her injury.

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     V.       JURY DEMAND
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              Plaintiff demands a trial by jury.
11
     VI.      RELIEF
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              Plaintiff requests the following relief:
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           1. Judgment in an amount to be proven at trial against Defendants.
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           2. An award of taxable costs and attorney fees.
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           3. Such other relief as the court deems just and equitable.
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     Date: April 21, 2021.
18
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